              Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 1 of 25



                               L-]NITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT

                                                        )
LINITED STATES SECURITIES                               )
AND EXCHANGE COMMISSION.                                )
                                                        )
                         Plaintifi                      )     Civil Action No.
                                                        )
                                                        )
                                                        )
IFTIKARAHMED,                                           )     COMPLAINT
                                                        )
                         Defendant, and                 )
                                                        )
IFTIKAR ALI AHMED SOLE PROP and                         )     JURY TRIAL DEMANDED
I-CUBED DOMAINS, LLC,                                   )
                                                        )
                         Relief Defendants.             )
                                                        )

                                       FILED UNDER SEAL

         Plaintiff United States Securities and Exchange Commission ("the Commission") alleges

as   follows for its complaint against Defendant Iftikar Ahmed, also known    as   Ifty Ahmed

("Ahmed"), and Relief Defendants Iftikar Ali Ahmed Sole Prop and l-Cubed Domains, LLC:

                                              SUMMARY

         l.       This case involves fraud and self-dealing perpetrated by Ahmed in connection

with multiple investments he coordinated on behalf of   a venture capital   firm at which   he was a

partner, Oak Investment Partners C'Oak'). As more fi.rlly outlined herein, from no later than

October 2013 through around December 2014, Ahmed recommended that Oak's funds make

multi-million dollar investrnents in tkee companies. These investments were made by two

separate pooled investment funds that Oak and Ahmed advised      -   funds whose money came from

public pension funds and other institutional and individual investors. Ahmed engaged in
          Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 2 of 25



fraudulent acts and made material misrepresentations with respect to each ofthese investrnent

recommendations, thereby defrauding the Oak funds out of millions ofdollars and personally

obtaining il l-gotten profits.

         2.     In the first of the investment recommendations, Ahmed arranged for one of Oak's

funds to purchase shares of a Chinese e-commerce company at a price that was sigrificantly

higher than the price the sellers actually agreed to sell their shares. Ahmed then diverted the

excess funds to an account that he controlled. Specifically, in August 2014, Ahmed negotiated

for one of the Oak firnds to purchase shares of the Chinese e-commerce company from a British

Virgin Islands company (the "BVI Company") that held those shares. Although Ahmed knew

that the third party seller was   willing to sell these   shares for $1.5   million, Ahmed recommended

that the Oak fund purchase the same shares for approximately $3.5 million. Based on Ahmed's

recommendation, which also included false representations about the finances of the Chinese e-

commerce company, the Oak fund made the purported $3.5 million investment. Oak wired the

purchase price to an account that Ahmed claimed was held by the             BVI Company, but was in fact

controlled by Ahmed through Relief Defendant Iftikar Ali Ahmed Sole Prop ("41rr"6 5o,.

Prop")

         3.     A few months later, Ahmed engaged in similar misconduct conceming a second

investrnent recommendation. In December 2014, Ahmed arranged for another Oak firnd to

purchase shares in an Asia-based     joint venture from one ofthe joint venture's two partners.

Although Ahmed knew that the joint ventue partner was willing to sell its shares for $2 million,

Ahmed recommended that the Oak firnd purchase the shares for $20 million. To support this

inflated valuation, Ahmed again made false representations to Oak about the finances ofthejoint

venhue. Ahmed also claimed that the $20 million payment was to be split between the rwo joint
           Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 3 of 25



venture partners. Ahmed claimed that $2 million was to be paid to the selling partner and $18

million was to be paid to the BVI Company, which held       a   controlling interest in the joint venture

partner that was not selling its shares (the "BVI Subsidiary"). On December 18, 2014, the day

before this deal closed, Ahmed represented to Oak personnel that upon the closing of the

transaction, the Oak fiurd's $18 million payment to the BVI Company would "immediately" flow

into the joint venture. Ahmed, however, arranged for Oak to wire        $   l8 million to the account

belonging to Relief Defendant Ahmed Sole Prop      -   the account that he had previously used to

defraud another Oak firnd and its investors. Further, notwithstanding Ahmed's representations,

the oak fund's $18 million payment to Ahmed Sole Prop was never transferred into the joint

venture.

        4.      In the third investment recommendation, Ahmed advised an Oak fund to make

two separate investrnents in a U.S.-based e-commerce compnny, while concealing from oak and

the oak fund that he controlled another investor in that company, Relief Defendant I-cubed

Domains, LLC ("I-cubed"). I-cubed was formed in 2012 with Ahmed as its sole initial member,

and remained owned and controlled by Ahmed and/or his wife at all times relevant to this

complaint. Even so, Ahmed never disclosed   -   and in fact affirmatively misrepresented      -   his

relationship with I-Cubed to Oak and./or the Oak fund.

        5.      In October 2013, Ahmed arranged for the Oak fund to purchase $25 million in

stock directly from the e-commerce company. At the time of that purchase, I-cubed was also an

investor in the e-commerce company; it had purchased shares in late 2ol2 and was one ofonly

approximately 20 shareholders. Thus, unbeknownst to the Oak fund, it was putting millions               of
dollars into a company in which Ahmed and,/or his wife (through l-Cubed) also owned a

significant stake.
             Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 4 of 25



          6.      Approximately a year later, in October 2014, Ahmed advised the Oak firnd to

purchase additional shares of the e-commerce company, but this time recommended the fund

purchase the shares directly from l-Cubed, the company that he and/or his wife controlled.

Despite the fact that I-Cubed had acquired these shares for only $2 million in late 2012, Ahmed

recommended that the Oak fund purchase the shares for $7.5 million           -   a   price increase of nearly

300%. The Oak fund made Ahmed's recommended investment without knowing it was buying

the shares from an entity that Ahmed and/or his wife controlled. Ahmed's self-dealing breached

his fiduciary duties to the fund.

         7.      As a result ofhis misconduct, Defendant Ahmed violated, and unless restrained

and enjoined    will continue to violate, Section   17(a)   ofthe Securities Act of 1933 ("securities

Act") [15 U.S.C.      $ 77q(a)], Section 10(b) of the Securities Exchange    Act of 1934 ("Exchange

Act")   [5   U.S.C. $ 78j(b)] and Rule l0b-5 thereunder       [7   C.F.R. g 240.10b-5], and Sections

206(l),206(2),206(3), and 206(4) ofthe Investment Advisers Act 1940 ("Advisers Act") [15

U.S.C. $$ 80b-6(l), 80b-6(2), and 80b-6(3)l and Rule 206(4)-8 thereunder [17 C.F.R.                $

27   5.206(4)-8). Further, Relief Defendants Ahmed Sole Prop and I-Cubed received              illicit
proceeds from Ahmed's fraud to which they have no legitimate claim.

                 NATURE OF THE PROCEEDINGS AND RELIEF SOUGHT

         8.      The Commission brings this action      pusumt to the authority conferred upon it by

Section 20(b) ofthe Securities Act [15 U.S.C. g 77(b)], Section 2l(d) ofthe Exchange Act [15

U.S.C.   S 78u(d)1,   and Section 209(d) of the Advisers Act [15 U.S.C. $ 80b-9(d)].

         9.      The Commission seeks an emergency asset freeze against Defendant Ahmed and

Relief Defendants Ahmed Sole Prop and l-Cubed, in order to preserve assets necessary to satisfi

any eventual judgment against them. The Commission also seeks an immediate accounting                    of
            Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 5 of 25



.rssets, an order preventing the destnrction   ofdocuments, and an order for expedited discovery

and altemative means of service.

        10.      The Commission also seeks a permanent injunction against Defendant Ahmed

enjoining him fiom engaging in the transactions, acts, practices, and courses ofbusiness alleged

in this Complaint, disgorgement ofall ill-gotten gains from the unlawfirl activity set forth in this

Complaint, together with prejudgment interest, and civil penalties pursuant to Section 20(d) of

the Securities Act [15 U.S.C. $ 77(d)], Section 21(d)(3) of the Exchange Act       [5   U.S.C.   $


78u(d)(3)l and Section 209(e) of the Advisers Act      [5   U.S.C. $ 80b-9(e)]. The Commission

further seeks a final judgment ordering Relief Defendants Ahmed Sole Prop and I-Cubed to

disgorge the ill-gotten gains held in their accounts or otherwise received by them, and to pay

prej udgment interest thereon. The Commission also seeks any other        reliefthat the Court may

deem appropriate.

                                  JTJRISDICTION AI\D VENUE

        I   l.   This Court has jurisdiction over this action pursuant to Section 22(a) ofthe

Securities Act   [5   U.S.C. $ 77v(a)], Sections 21(d),21(e), and 27 of the Exchange Act     [5
U.S.C. $$ 78u(d), 78u(e), and 78aal and Sections 209(d) and2l4 of the Advisers Act [15 U.S.C.

$$ 80b-9(d) and 80b-141. Defendant Ahmed, directly or indirectly, made use of the means or

instrumentalities of interstate commerce, or of the mails, or the means or instruments      of

transportation or communication in interstate commerce, in connection with the acts, practices.

and courses of business set forth in this Complaint.

        12.      Venue lies in this Court pursuant to Section 22(a) of the Securities Act   [5   U.S.C.

$ 77v(a)1, Section 27   ofthe Exchange Act [15 U.S.C.       $ 78aa], Section 214 of the Advisers     Act

[5   U.S.C. $ 80b-14], and 28 U.S.C. $ l39lO). Defendant Ahmed is a resident of Greenwich,
         Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 6 of 25



Connecticut and Relief Defendant Ahmed Sole Prop's bank account is registercd to an address in

Greenwich, Connecticut. In addition, many ofthe acts, practices, and transactions described in

this Complaint occurred within the District of Connecticut.

                                           DEFENDANT

       13.     Ahmed, 43, currently resides in Greenwich, Connecticut. He has been a general

partner at Oak since 2004. Before joining Oak, he worked as an investment professional at other

financial industry companies. He graduated with a degree in engineering from the Indian

Institute of Technology, New Delhi and eamed his MBA from Harvard Business School. As

more fully outlined herein, Ahmed engaged in fraudulent conduct in connection with at least

three investment opportunities that he identified for Oak and its funds   -   fraud that resulted in the

loss of millions of dollars of money investors had contributed to Oak's funds.

                                    RELIEF DEFENDANTS

       14.     Ahmed Sole Proo is a purported business with     a bank account at a large national


bank. The address associated with Ahmed Sole Prop's bank account is Ahmed's home address              in

Connecticut. This purported business accounl was sometimes described as Ahmed Sole Prop

doing business as ("dba") the BVI Company. As discussed in more detail below, Ahmed took

advantage of the account's reference to the   BVI Company to fraudulently induce Oak and its

investors to transfer funds into this account. Approximately $21.5 million was wired from Oak's

funds to Ahmed Sole Prop in connection with two of Ahmed's fraudulent investment

recommendations.

       15.     I-Cubed is   a Delaware   limited liability company that was formed in 2012, with

Ahmed as its initial sole member. In or about May 2013, Ahmed assigned his interest in I-Cubed




                                                  6
          Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 7 of 25



to his wife. As more   fully outlined herein, in October 2014 l-Cubed sold     shares directly to one     of

the Oak funds Ahmed advised and received $7.5        million in proceeds from this transaction.

                                                FACTS

                                       Ahned's Role with Oak

        16.     Oak is a multistage venture capital firm with offrces in Norwalk and Greenwich,

Connecticut. Oak advises several firnds, or "pooled investment vehicles," each of which uses

money raised from various investors to make investments in companies. Investors in the funds

include individual investors and institutional investors, such as public pension funds.

        17.     Ahmed's role as general partner at Oak included identifuing and recommending

investment opportunities for the funds that Oak advised, including specifically recommending

the purchase of securities and advising on the purchase price ofthose securities. Ahmed also

managed and monitored the investments that he recommended. At times, Ahmed was appointed

to the boards of directors of the companies in which the funds invested. Ahmed was

compensated for his role in advising the funds and helping to manage the funds' investments,

and he received additional compensation when the investment opportunities he recommended

were particularly successful.

        18.     Section 202(a)(l   l) ofthe Advisers Act   defines an investment adviser as "any

person who, for compensation, engages in the business of advising others ... as to the value       of

securities or the advisability of investing in, purchasing, or selling securities ...." In light of his

roles and responsibilities, Ahmed was an investment adviser under the terms of the Advisers Act.

        19.     As an investment adviser, Ahmed owed fiduciary duties to the fi.urds that he

advised on Oak's behalf, including the funds involved in the tansactions described below. These

duties included the duty to act for the benefit of the firnds, the duty to exercise the utmost good
            Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 8 of 25



faith in dealing with the funds, and the duty to disclose all material facts related to any actual or

potential investrnents by the firnds. Further, as a fiduciary, Ahmed was required to avoid

improper self-dealing. As detailed below, Ahmed breached these duties and engaged in fraud.

                      Ahmed Recommended           a   glyj$lqgEI4_ElE
           20.   In or about August 2014, Ahmed recommended that one ofOak's funds, Oak

lnvestment Partners XIII, LP C'Oak     XIID,    purchase shares in an e-commerce compzuly

operating in Asia ("Company A"). Ahmed recommended that Oak XIII purchase those shares,

not directly from Company A, but from a British Virgin Islands company, the BVI Company,

that was looking to sell its investment in Company A. Ahmed was a member of the BVI

Company's board of directors.

           21.   On or about the evening of Sunday, August 10,2014, Ahmed sent an e-mail to

Oak partners seeking approval for the purchase of Company       A's   shares from the   BVI Company.

In making this recommendation, Ahmed represented that Company A "continues to grow fast

and do quite well," and that it had "crossed a   million $ in revenues in June and tumed    a   linle

profit too." Ahmed urged that the deal needed to be done quickly.

           22.   Ahmed attached to his August l0 e-mail a report recommending that Oak XIII

purchase Company     A's   shares from the   BVI Company at a price of approximately $3.544

million.

       23.       By at least August 12,2014, Oak XIII made the purported $3.544 million

purchase of Company     A's shares. On or about August 12,2014, Ahmed forwarded to Oak

personnel what he claimed were the final, executed deal documents, with the note:        "All signed

docs are in. Good to wire and close the purchase." The purchase price listed in both the signed
              Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 9 of 25



resolution of the BVI Company's board ofdirectors and the share purchase agreement wzls

$3.5,14   million. Ahmed was the sole representative of Oak XIII signing on behalf of the fund.

          24.     Also on or about August 12,2014, Ahmed submitted a check request asking that

the $3.544 million be paid, purportedly to the BVI Company. Ahmed also provided Oak with

wiring instructions which stated that the firnds were to be sent to a bank account that belonged to

the   BVI Company. The request was approved, and the funds were wired on behalf of Oak XIII to

the designated account.




          25.     Ahmed made significant misrepresentations, and engaged in fraudulent and

deceptive conduct, in connection with this recommendation. As detailed below, Ahmed knew

that the actual price at which the BVI Company sold its shares of Company A was $l.5 million,

not the $3.544 million Ahmed represented to Oak and Oak XIII. Ahmed misrepresented the

financial condition of Company A, provided Oak with altered deal documents, and fraudulently

arranged for Oak    XIII funds to be wired to the Ahmed       Sole Prop account.

          26.     The Selling Company's board of directors consisted of three individuals: Ahmed

and two others. On or about July 30,2014, Ahmed corresponded with one              ofthe other BVI

Company board members about the potential sale of its Company A shares. Ahmed claimed he

had negotiated a sale   ofthe   shares for $ 1.5   million, but that the third party buyer was now

skeptical of that price in light of Company A's "declining revenues" and "significant loss"          of

business. Ahmed suggested he believed he could convince the buyer to purchase the shares             for

approximately $1.3 million. The board member indicated that he was comfortable with a sale at

that price.




                                                       9
          Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 10 of 25



         27   .     On or about the moming of Monday, August I I , 2014, Ahmed e-mailed the two

other BVI Company board members claiming that the potential buyer "ke[pt] going back on

price." Ahmed proposed that the BVI Company sell its shares of Company A to Oak rather than

a   third party buyer. Ahmed claimed that "the fair price would be $1.5MM."

         28.       In stark contrast to his statements to the other BVI Company board members,

Ahmed recommended that Oak         XIII pay $3.544 million to purchase the BVI Company's stake in

Company       A.   In making this recommendation, Ahmed misrepresented the financial condition of

Company       A.   As noted above, in his August 10, 2014 email recommending the investment to

Oak, Ahmed claimed that Company A was "do[ing] quite well" financially, had more than $l

million in revenues in June 2014,    and had "tumed a    little profit too." ln fact, on or about August

8, 2014, Ahmed had received information about Company           A's financials, which      noted that

estimated revenues for June 2014 were approximately $725,000, and the company had a net loss

of more than $200,000.

         29.       Similarly, the day after he had recommended the investment to Oak, Ahmed e-

mailed the other two BVI Company board members noting that Company A's "week on week

revenues .. . have declined" and that the company "is still losing money and        will   need more

funding down the line."

         30.       By August 12,2014, Ahmed received approval from the BVI Company board

members to proceed with the sale of Compaly       A   shares at a price   of $1.5 million. Later that day,

Ahmed e-mailed the deal documents reflecting the $ I .5 million purchase price to the other two

BVI Company board members for their signatures. The two Selling Company board members

separately e-mailed to Ahmed executed versions ofthese deal documents that were signed on or

about August l1 and August 12,2014.

                                                  l0
        Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 11 of 25



       31.     To conceal his fraud, however, Ahmed provided Oak with altered deal

documents. On August 12,2014, after Ahmed had received executed copies ofthe deal

documents from both of the other BVI Company board members, Ahmed emailed to Oak

personnel executed deal documents that falsely depicted a purchase price of $3.544    million.

       32.     In addition to misrepresenting Company A's finances and using altered deal

documents that overstated the actual purchase price, Ahmed caused Oak XIII's money to be

wired to a bank account that he controlled. Specifically, the wiring instructions Ahmed provided

to Oak were not for an account held by the BVI Company, as Ahmed claimed in the wiring

instructions, but rather were for the account held by Relief Defendant Ahmed Sole Prop.

       T.      As noted above, the full name of the Ahmed Sole Prop bank account misleadingly

suggested that Ahmed Sole Prop was "doing business     as" the BVI Company. In fact, the bank

account was controlled by Ahmed and registered to Ahmed's home address.

       34.     Further, on or about August 15,2014, Ahmed transfened $2 million from the

Ahmed Sole Prop bank account to a bank account held in the name of Ahmed and his wife. That

same day, Ahmed wrote a $2   million check from that personal bank accourt to his wife. On or

about August 18,2014, Ahmed transferred an additional $44,113 and $600 from the Ahmed Sole

Prop bank account to the personal bank account held in the name of Ahmed and his wife. These

three transfers from the Ahmed Sole Prop bank account to Ahmed and his wife's personal bank

account equal almost exactly the difference between the approximately $3.544 million price Oak

XIII believed it was paying for the Company A   shares, and the $1.5   million price for which the

shares were actually sold.

       35.     By virtue of his misconduct, Ahmed misled Oak XIII and Oak XIII's investors,

defrauding them of more than $2 million.

                                                il
         Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 12 of 25



                         Ahm ed Recom      m   ended agJgyg5.!4qgg!E!g4

        36.      The Company        A investment was not the only instance in which Ahmed

misrepresented the price      ofa   deal, used altered deal documents, and caused a significant loss          of

money that investors had put into an Oak fund. In or about December 2014, Ahmed

recommended to Oak that another one of its fimds, Oak Investment Partners XII, LP C'Oak                  XIf)
make an investment in     a   joint venture that provided e-commerce services in the Asian market

("Company B"). Company B had been formed by two existing companies: (1) a Cayman Islands

company headquartered in China ("Joint Vennre Party              l")   and (2) a Singapore business

subsidiary controlled by the BVI Company referenced above (the "BVI Subsidiary"). At the time

of Ahmed's recommendation, Joint Venture Party            I   was seeking to sell its stake in Company B.

        37.      Ahmed recommended that Oak XII purchase Joint Venture Party 1's shares in

Company B, at a price of $20 million. As part of his recommendation, on or about December 15,

2014, Ahmed prepared a report on the proposed transaction. That report reiterated that the

purchase price   ofthe   shares owned by Joint Venture Party           I   was $20 million. The report also

contained detailed financial information about Company B.

       38.       Ahmed further told Oak and Oak XII that the $20 million purchase price would be

split, with $2 million being paid directly to Joint Venture Party 1 (the selling party) and the

remaining $18 million being paid to the BVI Company. In response to questions from Oak

personnel about this payment structue, Ahmed sent an e-mail on or about December 18,2014

claiming that the $18 million would "flow in to" Company B through the BVI Company

"immediately at close."




                                                     t2
          Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 13 of 25




          39.     Based on Ahmed's recommendation and representations, on or about December

 19,2014, Oak XII agreed to make the $20 million investment and purchased Company B's

shares.

          40.     On or about December 19,2014, Ahmed submitted a check request detailing the

payment structure. Specifically, consistent with Ahmed's earlier recommendation, Ahmed

requested that $2    million   be paid to Joint Venture Party   I   and $18   million   be paid to the   BVI

Company. Ahmed provided Oak with wiring instructions for these funds. According to the

wiring instructions, the $18 million was to be sent to a bank account that was in the name of the

BVI Company. The account, however, was actually          a personal account that Ahmed           controlled

and opened in the name of Relief Defendant Ahmed Sole Prop.

          41.     As noted above, the full name of the Relief Defendant Ahmed Sole prop bank

account misleadingly suggested that Ahmed Sole Prop was "doing business as,, the                 BVI

Company.

          42.     On or about December 19,2014, Oak personnel wired the requested funds on

behalfofOak XII to the accounts Ahmed had designated.

          43.     On or about December 29, 2014, one     ofOak's employees requested additional

information from Ahmed about the payment structure, and specifically asked for details and

documentation of the $18 million payment purportedly made to the BVI company. In response,

on or about January 3,2015, Ahmed e-mailed the oak employee what Ahmed claimed were the

final, executed deal documents. Those documents reflected a purchase price of$20 million.

          44.    Ahmed further told the Oak employee that the payment was structued the way it

was at the   joint venture parties' request. In another e-mail sent on or about January 3, 2015,

Ahmed stated: "Just so you are clear on the funding, the purchase of [Joint Ventwe pa(y                  I's]
                                                    l3
             Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 14 of 25



shares was for the entire $20MM, but netted out for a               $18MM obligation that [Joint Venture

Party 1l had to lthe BVI Company] ... and hence the fund flows were as we did. The gross

purchase price from Oak was $20MM but the net arnount to [Joint Venture Party 1] was                 $2MM."



            45.      Ahmed's representations to Oak and Oak XII were false, and his actions were

fraudulent. As detailed below, Ahmed knew that the actual purchase price for Joint Ventue

Party 1's shares in Company B was $2 million, not the $20 million that Ahmed represented.

While Ahmed claimed that the $18 million surplus was to be paid to the BVI Company, the

parent company of the other joint ventue partner, the BVI Subsidiary, Ahmed directed Oak                   XII
to pay $18 million to Relief Defendant Ahmed Sole Prop's account that was in fact associated

with Ahmed's home address.

            46.      In order to justify the grossly exaggerated purchase price of$20 million, Ahmed

misrepresented Company B's financial condition in the investment report that he prepared                for

and presented to Oak and Oak             XII. Prior   to preparing his report, Ahmed asked for and received

from Company B financial projections for the current year and the next several years. Almed

included this same type of information in the report, but the figures were often materially

different. For example, the financial projections Ahmed received from Company B indicated that

the estimated value of the merchandise it expected to sell in 2014 was approximately 42.6

million RMBr; the information Ahmed included in the report claimed                a merchandise value   of

!42.6 million RMB. Similarly, the financial projections Ahmed received from Company B

projected revenues in 2014 of 2.918 million RMB; Ahmed's report indicated projected revenues



r
    "RMB"   is the denotation   ofChina's currency, the renminbi.

                                                             l4
            Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 15 of 25



of 12.918 million RMB. As a result, Ahmed's report made Company B's financial condition

appear significantly more robust than it actually was.

           47   .   On or about December 19, 2014, the share purchase agreement and other related

documents for Oak XII's purchase ofJoint Venture Party         l's   shares were executed by the parties

to the deal. Ahmed was the sole representative signing these deal documents on behalfofOak

XII. Later that day, the executed     deal documents were circulated by e-mail to the parties to the

deal. The executed deal documents clearly state that the purchase price was $2         million. Indeed,   a

press release issued by Joint Venture Party 1 confirmed that     it had sold its   shares   ofCompany B

to Oak XII for $2 million.

           48.      Notwithstanding his knowledge of the actual purchase price, Ahmed caused $18

million of the inflated $20 million purchase price to be wired to an account that he controlled. As

outlined above, the account that Ahmed informed Oak was held by the BVI Company, the parent

company of the remaining joint venture partner, the BVI Subsidiary, was in fact held in the name

of Relief Defendant Ahmed Sole Prop. Furthermore, the address associated with that account

was Ahmed's home address in Connecticut.

           49.      In an attempt to cover his tracks, Ahmed e-mailed altered deal documents to an

Oak employee after the transaction was completed. On or about January 3, 2015, Ahmed emailed

to the Oak employee a document that purported to be the final executed share purchase

agreement. The document was nearly identical to the actual final share purchase agreement that

Ahmed and the other parties had signed approximately two weeks earlier, with one significant

difference: Ahmed had changed the purchase price term ofthe agreement from $2 million to $20

million.



                                                    l5
           Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 16 of 25



       50.         By virtue of his misconduct, Ahmed misled Oak XII and Oak XII's investors,

defrauding them of     $   l8 million.

                        Ahmed Recommended an -fEyjgEqgElE_gglqp

       51.         Ahmed also engaged in fraud and self-dealing in connection with another

investment recommendation to Oak XIII. In 2013 and 2014, Ahmed recommended that Oak                     XIII

make two separate investments in a U.S.-based e-commerce company ("Company C"). In or

about November 2012, Company C engaged in an initial round of financing. One of the investors

in this initial round of financing was Relief Defendant I-Cubed.

       52.         In or about October 2013, as Company C was engaged in a second round           of
financing, Ahmed made a recommendation that Oak XIII invest in Company C. Based on

Ahmed's recommendation, on or about October I l, 2013, Oak XIII invested $25 million and

purchased shares directly from Company C. At the time of this investment, I-Cubed was one               of

approximately twenty shareholders in Company C.

       53.        Approximately one year later, in or about October 2014, Ahmed recommended

that Oak   XIII   make a second investment in Company C. Rather than purchase shares directly

from Company C, this time Ahmed recommended that Oak XIII purchase shares from I-Cubed.

Specifically, Ahmed recommended that Oak XIII purchase the shares that I-Cubed had acquired

in or around November 2012, during Company C's initial round of financing. Although I-Cubed

had paid only $2     million for these   shares, Ahmed recommended that Oak      XIII   purchase the

shares from I-Cubed at a price      of $7.5 million. Ahmed assisted with the justification of the $7.5

million purchase price by providing purported revenue projections for Company C.

       54.        Based on Ahmed's recommendation, Oak         XIII   made its second, $7.5   million

investrnent in Company C. On or about October 30, 2014, a stock purchase agreement was

                                                     l6
          Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 17 of 25



executed between Oak       XIII and I-Cubed. The stock purchase   agreement was signed by Ahmed

on behalf of Oak   XIII,   and purportedly signed by a different individual on behalf of I-Cubed. On

or about that same day, Oak personnel wired $7.5 million on behalf of Oak       XIII to an I-Cubed

bank account, in exchange for all of l-Cubed's shares in Company C.




        55.      Ahmed defrauded Oak      XIII in connection with the investments in Company     C.

Most notably, Ahmed never disclosed to Oak, Oak XIII, or Oak XIII's investors his relationship

with I-Cubed, violating his fiduciary duties to act in the best interest of his clients and to avoid

self-dealing.

        56.      As explained above, I-Cubed was formed in 2012 with Ahmed as its sole initial

member.

        57   .   In or about November 2012, Ahmed was directly involved in I-Cubed's purchase

of Company C shares for $2 million. At that time, Ahmed was still the sole member of I-Cubed.

Moreover, the funds that I-Cubed used to purchase Company C's shares were wired from a

brokerage account registered to Ahmed and his wife at Ahmed's home address.

        58.      On or about   May 16,2013, Ahmed assigned his interest in I-Cubed to his wife.

On information and beliet ninety-nine percent of that ownership interest in I-Cubed may later

have been transferred to a trust in his wife's name. In any event, the ownership of I-Cubed

remained with Ahmed and/or his family at all times relevant to this Complaint.

        59.      Ahmed failed to disclose his interest in I-Cubed to Oak or Oak   XIII in connection

with the fiDd's investments in Company C. Specifically, when Oak XIII made its initial $25

million investment in Company C in or around October 2013, Ahmed failed to disclose that he

and his wife (through her ownership ofl-Cubed) held a sizable investrnent in Company C.

                                                   t7
              Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 18 of 25



          60.       In or about June 2013, Ahmed expressly represented to Oak's chiefoperating

officer that he had "NO personal investment or any direct beneficial interest or investment in"

Company C. This statement was false and misleading in light of the fact that Ahmed's wife

owned I-Cubed, which (in tum) owned shares of Company C.

          61   .    Ahmed further failed to disclose his family's interest during the October 2014

transaction in which Oak XIII purchased Company C shares directly from I-Cubed for $7.5

million   -    a sale that allowed I-Cubed to generate a $5.5   million profit on the shares that it had

purchased for $2 million just two years earlier.

          62.       By virtue of Ahmed's fraud, concealment, and self-dealing, Oak XIII's

investments in Company C were made without knowing that it was investing in a company in

which Ahmed himself held a significant interest.

                              Relief Defendants Received Ill-Gotten Gains

          63.       As detailed above, Relief Defendant Ahmed Sole Prop received proceeds from

Ahmed's misconduct in connection with two Oak funds' investments in Companies A and B.

Ahmed Sole Prop has no legitimate claim to these funds.

          64.       As detailed above, Relief Defendant I-Cubed received proceeds from Ahmed's

misconduct in connection with Oak XIII's investment in Company C. I-Cubed has no legitimate

claim to these funds.

                                     FIRST CLAIM FORRELIEF
                       Fraud in the Purchase or Sale of Securities in Violation of
                           Section l0(b) of the Exchange Act and Rule 10b-5
                                      (Against Defendant Ahmed)

          65.       The Commission realleges and incorporates by reference paragraphs         I through

64, as if fully set forth herein.


                                                     l8
           Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 19 of 25



          66.        As a result of the conduct alleged herein, Defendant Ahmed, in connection with

the purchase or sale of securities, by the use of the means or instrumentalities of interstate

commerce, or of the mails, and with scienter:

                     (a)       employed a device, scheme, or artifice to defraud;

                     (b)       made untrue statements of material fact or omitted to state material facts

necessary in order to make the statements made, in light ofthe circumstances under which they

were made, not misleading; or

                     (c)       engaged in an act, pmctice, or course of business which operated or would

operate as a fraud or deceit upon any person.

          67.        By virtue ofthe foregoing, Defendant Ahmed, directly or indirectly, violated, and

unless enjoined,       will   again violate Section   l0(b) of the Exchange Act U5 U.S.C. 78j(b)l and

Rule 10b-5 U7 C.F.R. $240.10b-51 thereunder.

                                     SECOND CLAIM FOR RELIEF
                           Fraud in the Offer or Sale of Securities in Violation of
                                     Section l7(a) of the Securities Act
                                        (Against Defendant Ahmed)

          68.        The Commission realleges and incorporates by reference paragraphs I through

64, as   if fully   set forth herein.

          69.        As a result of the conduct alleged herein, in connection with the offer or sale   of

securities, by the use of the means or instruments of transportation or communication in

interstate commerce or by use of the mails, directly or indirectly:

                     (1)       with scienter, employed   a device, scheme, or   artifice to defraud;




                                                          l9
          Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 20 of 25



                 (2)      obtained money or property by means of untrue statements of a material

fact or omission to state material facts necessary in order to make the statements made, in light            of

the circumstances under which they were made, not misleading; or

                 (3)      engaged in a transaction, practice, or course ofbusiness which operated or

would operate as a fraud or deceit upon the purchaser.

        70.      By virtue ofthe foregoing, Defendant Ahmed, directly or indirectly, violated, and

unless enjoined,   will again violate Section l7(a) of the Securities Act     [5   U.S.C. g 77q(a)].

                                   THIRD CLAIM FOR RELIEF
                           Fraud by an Investnent Adviser in Violation of
                            Sections 206(l) and 206(2) ofthe Advisers Act
                                     (Against Defendant Ahmed)

        71.      The Commission realleges and incorporates by reference paragraphs 1 through

64, as if firlly set forth herein.

        72.      As a result ofthe conduct alleged herein, Defendant Ahmed, while acting as an

investment adviser, by the use of the mails or any means or instrumentality of interstate

commerce, directly or indirectly:

                 (1)     with scienter, employed   a device, scheme,     or artifice to defraud; or

                 (2)     engaged in a transaction, practice, or course ofbusiness which operated as

a fraud or deceit upon a   client or prospective client.

        73.      By virtue ofthe foregoing, Defendant Ahmed, directly or indirectly, violated, and

unless enjoined,   will again violate Sections 206(l)      and 206(2) of the Advisers   Act tl5 U.S.C.   g


80b-6(1) and 80b-6(2)1.




                                                   20
          Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 21 of 25



                                   FOURTH CLAIM FOR RELIEF
                           Undisclosed Principal Transaction in Violation of
                                   Section 206(3) of the Advisers Act
                                     (Against Defendant Ahmed)

        74.      The Commission realleges and incorporates by reference paragraphs            I   through

64, as if fully set forth herein.

        75.      As a result ofthe conduct alleged herein, and specifically Defendant Ahmed's

conduct in regard to Relief Defendant I-Cubed's sale ofCompany C shares to Oak              XIII in or

about October 2014, Defendant Ahmed, while acting as an investment adviser, by the use of the

mails or any means or instrumentality of interstate commerce, directly or indirectly, acting as a

principal for his own account, knowingly sold a security to a client without disclosing to such

client in writing before the completion of such transaction the capacity in which he was acting

and obtaining the consent of the client to such transaction.

        76.     By virtue ofthe foregoing, Defendant Ahmed, directly or indirectly, violated, and

unless enjoined,   will   again violate Section 206(3) of the Advisers   Act   [5   U.S.C. $ 80b-6(3)].

                                     FIFTH CLAIM FOR RELIEF
                   Fraud on Pooled Investment Vehicle Investors in Violation of
                       Section 206(4) of the Advisers Act and Rute 206(4)-8
                                   (Against Defendant Ahmed)

        77.     The Commission realleges and incorporates by reference paragraphs I through

64, as if fully set forth herein.

        78.     As a result ofthe conduct alleged herein, Defendant Ahmed, while acting as an

investment adviser to various pooled investment vehicles, by the use ofthe mails or any means

or instrumentality of interstate comrnerce, directly or indirectly engaged in acts, practices, or

courses of business which were fraudulent, deceptive, or manipulative. Defendant Ahmed:




                                                    2l
          Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 22 of 25



                 (l)      made untrue statements of material facts and omitted to state material

facts necessary to make the statements made, in light of the circumstances under which they

were made, not misleading to an investor or prospective investor in the pooled investment

vehicles; or

                 (2)     otherwise engaged in acts, practices, or courses of business that were

fraudulent, deceptive, or manipulative with respect to an investor or prospective investor in the

pooled investrnent vehicles.

        79.     By virtue ofthe foregoing, Defendant Ahmed, directly or indirectly, violated, and

unless enjoined,   will again violate Section 206(4) of the Advisers Act U5 U.S.C.    g 80b-6(a) and

Rule 206(4)-8 thereunder U7 C.F.R. g 275.206(4)-81.

                                 SIXTH CLAIM FORRELIEF
                                     Equitable Disgorgemetrt
                           (Ageinst Relief Defendant Ahmed Sole Prop)

        80.     The Commission realleges and incorporates by reference paragraphs I through

64, as if fully set forth herein.

        81.     Relief Defendant Ahmed Sole Prop's bank account received and held proceeds            of
Defendant Ahmed's fraudulent transactions involving Company A and Company B.

        82.     Relief Defendant Ahmed Sole Prop has no legitimate claim to these       illicit
proceeds.

        83.     ReliefDefendant Ahmed Sole Prop obtained the funds under circumstances in

which it is not just, equitable, or conscionable for it to retain the funds, and therefore has been

unjustly enriched.




                                                  22
          Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 23 of 25



                                     SEVENTH CLAIM FOR RELIEF
                                         Equitable Disgorgement
                                    (Against Relief Defendant I-Cubed)

        84.     The Commission realleges and incorporates by reference paragraphs 1 through

64, as if fully set forth herein.

        85.     Defendant Ahmed controls Relief Defendant I-Cubed.

        86.     ReliefDefendant I-Cubed's bank account received and held proceeds of

Defendant Ahmed's fraudulent transaction involving Relief Defendant I-Cubed's sale            of

Company C shares in October 2014.

        87.     Relief Defendant I-Cubed has no legitimate claim to these illicit proceeds.

        88.     Relief Defendant I-Cubed obtained the funds under circumstances in which it is

not just, equitable, or conscionable for    it to retain the firnds, and therefore has been unjustly

enriched.

                                           RELIEF SOUGHT

        WHEREFORE, the Commission respectfully requests that this Court enter an

emergency, temporary, and preliminary order freezing the assets of Defendant and Relief

Defendants, requiring a swom accounting, prohibiting the destruction ofdocuments, and

ordering expedited discovery and altemative means of service.

        Further the Commission respectfully requests that this Court enter a Final

Judgrnent:

                                                     I,

        Finding that the Defendant commined the violations alleged in this Complaint;




                                                     23
          Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 24 of 25



                                                        II.

         Permanently restraining and enjoining the Defendant and his agents, servants, employees,

attomeys, and accountants, and those persons in active concert or participation with him, who

receive actual notice ofthe Final Judgrnent by personal service or otherwise, and each of them,

from engaging in transactions, acts, practices, and courses ofbusiness described herein, and from

engaging in conduct of similar purport and object in violation ofSection l7(a) of Securities Act

[15 U.S.C. $ 77q(a)], Section l0(b) of the Exchange Act               [5   U.S.C. $ 78j(b)] and Exchange Act

Rule l0b-5   [7     C.F.R. $ 240.10b-5] thereunder, and Sections 206(l),206(2),206(3),and206(J)

ofthe Advisers Act        [   5 U.S.C. S$   80b-6(l), 80b-6(2), 80b-6(3), and 80b-6(4)] and Rule 206(4)-8

thereunder   [1 7   C.F.R. $   27   5.206(0-81;

                                                        III.
         Directing the Defendant and the Relief Defendans to disgorge all ill-gotten gains

received during the period ofviolative conduct and pay prejudgment interest on such ill-gotten

gains;

                                                        Iv.
         Directing the Defendant to pay civil money penalties pursuant to Section 20(d) of the

Securities Act      [5   U.S.C. $ 77(d)], Section 2l(d)(3) of the Exchange Act         [5    U.S.C.   $


78u(d)(3)l and Section 209(e) ofthe Advisers Act               [5   U.S.C. $ 80b-9(e)];and

                                                        v.

         Granting such other and frrther reliefas this Court may deem just and proper.




                                                        24
 Case 3:15-cv-00675-JBA Document 1 Filed 05/06/15 Page 25 of 25



                                JURY DEMAI\D

The Commission demands   a   jury in this matter.

Dated: May 6, 2015




                                            Hughes

                                   Assistant United States Attomey
                                   Chief, Civil Division
                                   United States Attomey's Offrce
                                   Connecticut Financial Center
                                   157 Church St., 25th Floor
                                   New Haven, CT 06510
                                   Ph: (203) 821-
                                   Fax: (203)
                                   E-mail:


                                   Nicholas P.                Bar No. 38738)
                                   Connecticut Bar
                                   Mark L. Williams ffew York Bar No. 479661I )
                                   Connecticut Bar No. Phv07375
                                   United States Securities and Exchange Commission
                                   1961 Stout St., Suite 1700, Denver, CO 80294
                                   Phone: (303) 844-1000 (main)
                                             (303) 844-1071 (Heinke)
                                             (103) 844-1027 (Williams)
                                   E-mail: HeinkeN@sec.gov
                                             WilliamsMl@sec.gov

                                    Attorneys   for Plaintiff
                                    TINITED STATES SECURITIES AND EXCHANGE
                                    COMMISSION




                                          25
